 Case 1:08-cr-00127-RHB           ECF No. 53, PageID.124           Filed 08/27/08      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                       Case No. 1:08-CR-127

v.                                                              Hon. Robert Holmes Bell

VENANCIO VALENCIA-VARGAS,

               Defendant.
                                               /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on August 26, 2008, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Venancio Valencia-Vargas is charged in Count 4 of a multi-count

Indictment with brandishing firearms during and in relation to a drug trafficking crime, to wit:

conspiracy to distribute and possess with intent to distribute marijuana. On the basis of the record

made at the hearing, I found that defendant was competent to enter a plea of guilty and that the plea

was knowledgeable and voluntary with a full understanding of each of the rights waived by the

defendant, that the defendant fully understood the nature of the charge and the consequences of the

plea, and that the defendant's plea had a sufficient basis in fact which contained all of the elements

of the offense charged.




                                                   1
 Case 1:08-cr-00127-RHB           ECF No. 53, PageID.125            Filed 08/27/08      Page 2 of 2




               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the

parties.

               Accordingly, I accepted the plea of guilty, subject to final acceptance of the plea by

the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report, and directed the clerk to

procure a transcript of the plea hearing for review by the District Judge.

                                         Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's plea of

guilty to Count 4 of the Indictment be accepted, that the court adjudicate the defendant guilty of that

charge, and that the written plea agreement be accepted at, or before, the time of sentencing.



Dated: August 27, 2008                                 /s/ Hugh W. Brenneman, Jr.
                                                       HUGH W. BRENNEMAN, JR.
                                                       United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




                                                  2
